

Matter of Lichtman v Ceravolo (2023 NY Slip Op 03604)





Matter of Lichtman v Ceravolo


2023 NY Slip Op 03604


Decided on June 30, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CURRAN, OGDEN, AND GREENWOOD, JJ.


347 CAF 22-01715

[*1]IN THE MATTER OF MITCHEL LICHTMAN, PETITIONER-APPELLANT,
vMARIATERESA CERAVOLO, RESPONDENT-RESPONDENT, AND DAVID LEFEBVRE, RESPONDENT. (APPEAL NO. 3.) 






KELLY WHITE DONOFRIO LLP, ROCHESTER (DONALD A. WHITE OF COUNSEL), FOR PETITIONER-APPELLANT.
GALLO &amp; IACOVANGELO, LLP, ROCHESTER (CRAIG D. CHARTIER OF COUNSEL), FOR RESPONDENT-RESPONDENT.
MARYBETH D. BARNET, MIDDLESEX, ATTORNEY FOR THE CHILDREN.


	Appeal from an order of the Family Court, Ontario County (Brian D. Dennis, J.), entered September 27, 2022, in a proceeding pursuant to Family Court Act article 6. The order, insofar as appealed from, denied the motion of petitioner to vacate the order of protection. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Ceravolo v Lefebvre ([appeal No. 1] — AD3d — [June 30, 2023] [4th Dept 2023]).
Entered: June 30, 2023
Ann Dillon Flynn
Clerk of the Court








